              Case 19-42644-mxm11 Doc 1 Filed 06/30/19                                Entered 06/30/19 13:49:26                   Page 1 of 7

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                VMW Investments, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  808 W. Indiana Ave.
                                  Midland, TX 79701
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Midland                                                         Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  4200 and 4304 Airport Freeway, Fort Worth, TX
                                                                                                  76117; and
                                                                                                  3600 William D. Tate Avenue Grapevine, TX 76051
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 19-42644-mxm11 Doc 1 Filed 06/30/19                                    Entered 06/30/19 13:49:26                      Page 2 of 7
Debtor    VMW Investments, LLC                                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5311

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                Case number
                                                 District                                 When                                Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     VMW Bedford, LLC                                              Relationship              Affiliate
                                                            Northern District of
                                                 District   Texas                         When     6/30/19                Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
             Case 19-42644-mxm11 Doc 1 Filed 06/30/19                                 Entered 06/30/19 13:49:26                     Page 3 of 7
Debtor   VMW Investments, LLC                                                                    Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
              Case 19-42644-mxm11 Doc 1 Filed 06/30/19                                 Entered 06/30/19 13:49:26                    Page 4 of 7
Debtor    VMW Investments, LLC                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 30, 2019
                                                  MM / DD / YYYY


                             X   /s/ Michael E. Waters                                                    Michael E. Waters
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Clay Taylor                                                           Date June 30, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Clay Taylor 24033261
                                 Printed name

                                 Bonds Ellis Eppich Schafer Jones LLP
                                 Firm name

                                 420 Throckmorton, Suite 1000
                                 Fort Worth, TX 76102
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     8174056900                    Email address      clay.taylor@bondsellis.com

                                 24033261 TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
Case 19-42644-mxm11 Doc 1 Filed 06/30/19             Entered 06/30/19 13:49:26         Page 5 of 7




                               VMW INVESTMENTS, LLC

                             COMBINED WRITTEN CONSENT
                                (In Lieu of Special Meeting)
                               OF THE SOLE MANAGER
                                            AND
                                  THE SOLE MEMBER

                                          June 28, 2019

       The undersigned, being the sole manager (the “Manager”) and the sole member (the

“Member”) holding one-hundred percent (100%) of the membership interests of VMW

Investments, LLC, a Texas limited liability company (the “Company”), acting pursuant to the

provisions of the Texas Business Organizations Code (the “TBOC”), does hereby (i) waive any

and all requirements for calling, giving notice of, and holding a special meeting of the manager

and of the members of the Company, (ii) consent to and confirm the taking of the following

actions by the Company, such written consent to be (a) evidence of the actions taken by the

manager and the members as of the date hereof; (b) filed with the minutes of the meetings of the

manager and the members; and (c) in lieu of a special meeting, and (iii) adopt and consent to the

actions contemplated by the following resolutions, effective as of the date first written above:

       (a)     Voluntary Petition for Chapter 11 Bankruptcy.

               WHEREAS, the Company desires to file a voluntary petition (the
       “Petition”) for relief under chapter 11 of title 11 of the United States Code (the
       “Bankruptcy Code”), in the United States Bankruptcy Court for the Northern
       District of Texas, Fort Worth Division (the “Bankruptcy Court”);

             WHEREAS, the Member is the sole member of the Company and owns a
       one-hundred percent (100%) membership interest in the Company; and

                WHEREAS, in consultation with the President of the Company, the
       Manager and the Member have carefully considered the operations and the affairs
       of the Company and have determined that it is in the best interest of the Company
       to file a Chapter 11 Petition under the Bankruptcy Code in the Bankruptcy Court:

              NOW, THEREFORE, BE IT RESOLVED, that the Company shall be,
       and hereby is, authorized, empowered and directed to: (a) file a Petition for relief


                                                 1
Case 19-42644-mxm11 Doc 1 Filed 06/30/19            Entered 06/30/19 13:49:26        Page 6 of 7



      under Chapter 11 of the Bankruptcy Code in the Bankruptcy Court and (b) along
      with the President and Manager of the Company, perform any and all such acts as
      are reasonable, advisable, expedient, convenient, proper, or necessary to effect
      any of the foregoing;

             FURTHER RESOLVED, that the law firm of Bonds Ellis Eppich
      Schafer Jones LLP shall be, and hereby is, authorized, empowered and directed to
      represent the Company and the Company as a debtor and debtor-in-possession in
      connection with any case commenced by or against it under the Bankruptcy Code;

            FURTHER RESOLVED, that the Company is authorized, directed and
      empowered to retain such other attorneys, financial advisors, brokers, property
      managers, and accountants as each of the Manager or any authorized member of
      the Company (each, an “Authorized Person”) shall deem appropriate in their
      judgment;

              FURTHER RESOLVED, that each Authorized Person, on behalf of the
      Company, shall be, and each Authorized Person hereby is, authorized, empowered
      and directed to take or cause to be taken any and all such further action, to
      execute and deliver any and all such further instruments and documents and to
      pay all such fees and expenses, as each Authorized Person so acting shall deem
      appropriate in their judgment to fully carry out the intent and accomplish the
      purposes of the Resolutions; and

             FURTHER RESOLVED, that each Authorized Person is authorized,
      empowered and directed to execute and file such schedules, statements, exhibits,
      forms, and such other data and documents as he or they may deem appropriate,
      upon advice of counsel, in connection with or in furtherance of such case under
      the Bankruptcy Code.

      (b)    Further Action

              RESOLVED, that in addition to and without limiting the foregoing, the
      Authorized Persons be, and each hereby are, authorized, empowered and directed
      to take, or cause to be taken, such further action and to execute and deliver, or
      cause to be executed and delivered, for and in the name and on behalf of the
      Company, all such further instruments and documents as such Authorized Person,
      with the advice of counsel, may deem to be necessary or advisable in order to
      effect the purpose and intent of the foregoing resolutions and to be in the best
      interest of the Company (as conclusively evidenced by the taking of such action
      or the execution and delivery of such instruments or documents, as the case may
      be, by or under the direction of such Authorized Person), and all action heretofore
      taken by any Authorized Person in connection with the subject of the foregoing
      resolutions be, and it hereby is, approved, ratified and confirmed in all respects as
      the act and deed of the Company.

                                  [Signature Page Follows.]


                                               2
Case 19-42644-mxm11 Doc 1 Filed 06/30/19   Entered 06/30/19 13:49:26   Page 7 of 7
